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                          UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF KENTUCKY
                               LOUISVILLE DIVISION

 PLUMBERS AND PIPEFITTERS LOCAL 502                   )
 HEALTH AND WELFARE TRUST FUND;                       )
 PLUMBERS AND PIPEFITTERS LOCALS 502 & 633            )
 PENSION TRUST FUND;                                  )
 PLUMBERS AND PIPEFITTERS LOCAL 502 JOINT             )
 EDUCATIONAL & TRAINING FUND;                         ) Civil Case No. 3:21-cv-155-RGJ
 MECHANICAL INDUSTRY PROMOTION FUND OF                )
 KENTUCKY;                                            ) (Electronically Filed)
 PIPING INDUSTRY COOPERATIVE OF                       )
 KENTUCKIANA; and                                     )
 PLUMBERS, PIPEFITTERS AND SERVICE                    )
 TECHNICIANS LOCAL 502,                               )
                                                      )
                        Plaintiffs,                   )
                                                      )
        vs.                                           )
                                                      )
 HONEYWELL INTERNATIONAL, INC.                        )
 A Delaware Corporation,                              )
                                                      )
                        Defendant.                    )

                              NOTICE OF VOLUNTARY DISMISSAL

       NOW COME the Plaintiffs, the PLUMBERS AND PIPEFITTERS LOCAL 502 HEALTH

AND WELFARE TRUST FUND et al., by and through their counsel, Dennis Johnson of

JOHNSON & KROL, LLC, and hereby dismiss this action pursuant to Fed. R. Civ. P.

41(a)(1)(A)(i), as follows:

1.     Plaintiffs are PLUMBERS AND PIPEFITTERS LOCAL 502 HEALTH AND WELFARE

       TRUST FUND, PLUMBERS AND PIPEFITTERS LOCALS 502 & 633 PENSION

       TRUST FUND, PLUMBERS AND PIPEFITTERS LOCAL 502 JOINT EDUCATIONAL

       & TRAINING FUND, MECHANICAL INDUSTRY PROMOTION FUND OF

       KENTUCKY, PIPING INDUSTRY COOPERATIVE OF KENTUCKIANA, and

       PLUMBERS, PIPEFITTERS AND SERVICE TECHNICIANS LOCAL 502.


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2.     Defendant is HONEYWELL INTERNATIONAL, INC.

3.     On March 10, 2021, the Plaintiffs filed their Complaint in the above-captioned matter. [DE

       1].

4.     Since filing the Complaint, the Defendant has complied with the audit, and the audit is now

       complete.

5.     Rule 41 (a)(1)(A)(i) of the Federal Rules of Civil Procedure provides that “the plaintiff

       may dismiss an action without a court order by filing an notice of dismissal before the

       opposing party serves either an answer or a motion for summary judgment.” Fed. R. Civ.

       Proc. 41.

6.     The Defendant has yet to serve an answer or a summary judgment motion in the instant

       case.

       WHEREFORE, pursuant to Rule (a)(1)(A)(i), Plaintiffs hereby dismiss this matter without

prejudice.



                                            Respectfully submitted,

                                            /s/ Dennis R. Johnson
                                            Dennis R. Johnson (KY Bar No. 96387)
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                                CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on today’s date, February 24, 2022, he served a copy
of the Notice of Voluntary Dismissal to the Defendant via U.S. First Class Mail and Email at the
addresses set forth below.

       Honeywell International, Inc.
       c/o Mr. Tom Gies, Attorney
       Crowell & Moring LLP
       1001 Pennsylvania Avenue NW
       Washington, DC 20004
       tgies@crowell.com


                                             /s/ Dennis R. Johnson
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